                     EXHIBIT B




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 1   James Kahn, Esq.
     Krystal Ahart, Esq.
 2   BANKRUPTCY LEGAL CENTER
     KAHN & AHART, PLLC
 3   301 E. Bethany Home Rd., #C-195
     Phoenix, AZ 85012-1266
 4   Email: james.jahn@azbk.biz
     Email: krystal.ahart@azbk.biz
 5
     Counsel for Debtor, Skyler Cook
 6
                          IN THE UNITED STATES BANKRUPTCY COURT
 7
                                FOR THE DISTRICT OF ARIZONA
 8
     In re:                                                 Chapter 7
 9   SKYLER AARON COOK,                                     Case No. 2:20-bk-01730-EFB
10                                 Debtor.
                                                            Adversary No. 2:21-ap-00336-EFB
11
     JAMES E. CROSS, TRUSTEE,
12
                                   Plaintiff,
13
     vs.
14

15   VALLIANCE BANK, SHELBY BRUHN,
     and KATHERINE S. BRUHN,
16
                                   Defendants.
17

18
           SKYLER AARON COOK’S OBJECTIONS AND RESPONSES TO SUBPOENA TO
                   PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
19
     TO:      Defendants, Valliance Bank, Shelby Bruhn, and Katherine S. Bruhn, by and through their
20            counsel, Nick A. Griebel, POLSINELLI PC, 100 S. Fourth Street, Suite 1000, St. Louis,
              Missouri 63102
21
              Debtor Skyler Aaron Cook (“Cook”) serves these responses to requests for production in
22
     accordance with Fed. R. Civ. P. 45.
23

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     SKYLER COOK’S RESPONSES TODoc
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 1                                                      Respectfully submitted,

 2                                                      KEARNEY, MCWILLIAMS & DAVIS, PLLC

 3
                                                        /s/Rebecca K. Eaton
 4                                                      Rebecca K. Eaton
                                                        SBN: 24059705
 5
                                                        reaton@kmd.law
 6                                                      1235 South Main, Suite 280
                                                        Grapevine, Texas 76051
 7                                                      Tel. / Fax: (817) 764-3459

 8                                                      Special Counsel for Debtor, Skyler Cook

 9
                                    CERTIFICATE OF SERVICE
10

11          I hereby certify that a true and correct copy of the above and foregoing was served via
12
     electronic mail upon the following in accordance with the Fed. R. Civ. P. 45 on this 8th day of
13
     May 2023:
14
            Nick A. Griebel (Pro Hac Vice)
15          POLSINELLI PC
            100 S. Fourth Street, Suite 1000
16
            St. Louis, Missouri 63102
17          Telephone: (314) 889-8000
            Facsimile: (314) 231-1776
18          Email: ngriebel@polsinelli.com
19

20

21

22                                                      /s/Rebecca K. Eaton
                                                        Rebecca K. Eaton
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     SKYLER COOK’S RESPONSES TODoc
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 1                            RESPONSES TO DOCUMENT REQUESTS

 2   1.     All Documents and Communications concerning the Debtor.

 3   RESPONSE:
 4   Cook objects that this request is grossly overly broad because it is not reasonably limited by time
 5
     or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
 6
     in good faith, Cook is treating this request as if it were limited to the time period and the subject
 7
     matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
 8
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
 9
     foregoing objections, Cook has already produced all relevant documents within his possession,
10
     custody, and control.
11

12   2.     All Documents and Communications concerning any of the Debtor’s Businesses.

13   RESPONSE:

14   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

15   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
16   in good faith, Cook is treating this request as if it were limited to the time period and the subject
17
     matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
18
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
19
     foregoing objections, Cook has already produced all relevant documents within his possession,
20
     custody, and control.
21

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     3.     All Communications between the Debtor and anyone else concerning the Debtor, any of
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24   the Debtor’s Businesses, or any real property that was purchased, developed, or sold by the Debtor

25   (or any of the Debtor’s Businesses) for any of the Debtor’s Customers.

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 1

 2   RESPONSE:

 3   Cook objects that this request is grossly overly broad because it is not reasonably limited by time
 4   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
 5
     in good faith, Cook is treating this request as if it were limited to the time period and the subject
 6
     matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
 7
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
 8
     foregoing objections, Cook has already produced all relevant documents within his possession,
 9
     custody, and control.
10

11

12   4.     All Communications between the Debtor and any of the Debtor’s Customers.

13   RESPONSE:

14   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

15   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
16   in good faith, Cook is treating this request as if it were limited to the time period and the subject
17
     matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
18
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
19
     foregoing objections, Cook has already produced all relevant documents within his possession,
20
     custody, and control.
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22
     5.     All Communications between the Debtor and any employees, laborers, or contractors
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24   utilized, employed, or paid by the Debtor or any of the Debtor’s Businesses.

25   RESPONSE:

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 1   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

 2   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

 3   in good faith, Cook is treating this request as if it were limited to the time period and the subject
 4   matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
 5
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
 6
     foregoing objections, Cook has already produced all relevant documents within his possession,
 7
     custody, and control.
 8

 9
     6.     All Communications between the Debtor and any accounting firm utilized or employed by
10
     the Debtor.
11

12   RESPONSE:

13   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

14   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

15   in good faith, Cook is treating this request as if it were limited to the time period and the subject
16   matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
17
     produced to the Trustee and that the Trustee subsequently produced to Defendants on or about
18
     April 6, 2023. Specifically, see the Trustee’s response to Defendants’ Request for Production No.
19
     21, including documents produced by the Trustee as CROSS0017613 through CROSS0024456.
20
     Subject to the foregoing objections, Cook has already produced all relevant documents within his
21
     possession, custody, and control.
22

23

24   7.     All Communications between the Debtor and the Trustee.

25   RESPONSE:

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 1   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

 2   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

 3   in good faith, Cook is treating this request as if it were limited to the time period and the subject
 4   matters relevant to this litigation. Cook also objects that this request seeks documents that have
 5
     already been produced to Defendants. Specifically, see the Trustee’s response to Defendants’
 6
     Request for Production No. 6, including documents produced by the Trustee as CROSS0017417
 7
     through CROSS0017600. Subject to the foregoing objections, Cook has already produced all
 8
     relevant documents within his possession, custody, and control.
 9

10
     8.     All Communications between the Debtor and Valliance.
11

12   RESPONSE:

13   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

14   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

15   in good faith, Cook is treating this request as if it were limited to the time period and the subject
16   matters relevant to this litigation. Cook also objects that this request seeks information already in
17
     Defendants’ possession custody, and control. Subject to the foregoing objections, Cook has already
18
     produced all relevant documents within his possession, custody, and control.
19

20
     9.     All Communications between the Debtor and any financial institution or bank other than
21
     Valliance.
22
     RESPONSE:
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24   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

25   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

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 1   in good faith, Cook is treating this request as if it were limited to the time period and the subject

 2   matters relevant to this litigation. Cook also objects that this request seeks documents that Cook

 3   produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
 4   foregoing objections, Cook has already produced all relevant documents within his possession,
 5
     custody, and control.
 6

 7
     10.    All agreements, contracts, or loan documents that the Debtor (or any of the Debtor’s
 8
     Businesses) entered into with Valliance.
 9
     RESPONSE:
10
     Cook objects that this request is grossly overly broad because it is not reasonably limited by time
11

12   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

13   in good faith, Cook is treating this request as if it were limited to the time period and the subject

14   matters relevant to this litigation. Cook also objects that this request seeks information already in

15   Defendants’ possession custody, and control. Subject to the foregoing objections, Cook has already
16   produced all relevant documents within his possession, custody, and control.
17

18
     11.    All Documents and Communications concerning any bank accounts or funds that the
19
     Debtor (or any of the Debtor’s Businesses) had or maintained at Valliance, including, but not
20
     limited to, any account histories or bank statements concerning any such accounts or funds that
21
     the Debtor (or any of the Debtor’s Businesses) had or maintained at Valliance.
22
     RESPONSE:
23

24   Cook objects that this request is grossly overly broad because it is not reasonably limited by time

25   or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond

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 1   in good faith, Cook is treating this request as if it were limited to the time period and the subject

 2   matters relevant to this litigation. Cook also objects that this request seeks information already in

 3   Defendants’ possession custody, and control. Cook further objects that this request seeks
 4   documents that Cook produced to the Trustee and that the Trustee subsequently produced to
 5
     Defendants. Specifically, see documents produced as CROSS0015300 through CROSS0015554.
 6
     Subject to the foregoing objections, Cook has already produced all relevant documents within his
 7
     possession, custody, and control.
 8

 9
     12.    All Documents and Communications concerning any bank accounts or funds that the
10
     Debtor (or any of the Debtor’s Businesses) had or maintained at any bank or financial institution
11

12   other than Valliance, including, but not limited to, any account histories or bank statements

13   concerning any such accounts or funds that the Debtor (or any of the Debtor’s Businesses) had or

14   maintained at these other banks or financial institutions.

15   RESPONSE:
16   Cook objects that this request is grossly overly broad because it is not reasonably limited by time
17
     or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
18
     in good faith, Cook is treating this request as if it were limited to the time period and the subject
19
     matters relevant to this litigation. Cook also objects that this request seeks documents that Cook
20
     produced to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the
21
     foregoing objections, Cook has already produced all relevant documents within his possession,
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     custody, and control.
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 1   13.    All agreements or contracts that the Debtor (or any of the Debtor’s Businesses) entered

 2   into, including, but not limited to, all Partnership Agreements.

 3   RESPONSE:
 4   Cook objects that this request is grossly overly broad because it is not reasonably limited by time
 5
     or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
 6
     in good faith, Cook is treating this request as if it were limited to the time period and the subject
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     matters relevant to this litigation. Cook also objects that this request seeks documents that the
 8
     Trustee produced to Defendants on or about April 6, 2023. Specifically, see the Trustee’s response
 9
     to Defendants’ Request for Production No. 14, including documents publicly and produced by the
10
     Trustee as CROSS0009965 through CROSS0010088. Subject to the foregoing objections, Cook
11

12   has already produced all relevant documents within his possession, custody, and control.

13

14   14.    All Documents and Communications concerning any and all payments, transfers of money,

15   or loans that the Debtor (or any of the Debtor’s Businesses) received, including, but not limited to,
16   all of the Debtor’s banking statements at every financial institution or bank at which the Debtor
17
     held or maintained funds on account.
18
     RESPONSE:
19
     Cook objects that this request is grossly overly broad because it is not reasonably limited by time
20
     or subject matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond
21
     in good faith, Cook is treating this request as if it were limited to the time period and the subject
22
     matters relevant to this litigation. Cook also objects that this request seeks information that has
23

24   already been produced to Defendants or that is already in Defendants’ possession custody, and

25   control. Specifically, see documents produced as CROSS0015300 through CROSS0015554.

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 1   Subject to the foregoing objections, Cook has already produced all relevant documents within his

 2   possession, custody, and control.

 3

 4   15.    All Documents and Communications concerning any and all payments, transfers of money,
 5
     or loans made by the Debtor, any of the Debtor’s Businesses, or Valliance, to any of the Debtor’s
 6
     Customers.
 7
     RESPONSE:
 8
     Cook objects that this request is overly broad because it is not reasonably limited by time or subject
 9
     matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good
10
     faith, Cook is treating this request as if it were limited to the time period and the subject matters
11

12   relevant to this litigation. Cook also objects that this request seeks documents that Cook produced

13   to the Trustee and that the Trustee subsequently produced to Defendants. Cook also objects that

14   this request seeks information that is already in Defendants’ possession custody, and control.

15   Subject to the foregoing objections, Cook has already produced all relevant documents within his
16   possession, custody, and control.
17

18
     16.    All Documents and Communications concerning any real estate purchased, developed,
19
     renovated, or sold by the Debtor (or any of the Debtor’s Businesses) for any of the Debtor’s
20
     Customers (or for their benefit), including all Documents, Communications, and records
21
     identifying the dates and amounts of all expenditures for the purchase or development of each such
22
     real property or improvement, the dates and amounts of all income or revenue generated on account
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24   of each such real property, and the dates and amounts of any disposition of all such income,

25   revenue, or property.

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 1   RESPONSE:

 2   Cook objects that this request is overly broad because it is not reasonably limited by time or subject

 3   matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good
 4   faith, Cook is treating this request as if it were limited to the time period and the subject matters
 5
     relevant to this litigation. Cook also objects that this request seeks documents that Cook produced
 6
     to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the foregoing
 7
     objections, Cook has already produced all relevant documents within his possession, custody, and
 8
     control.
 9

10
     17.    All Documents and Communications concerning any businesses or entities that the Debtor
11

12   owns which did business with, or entered into any contracts with, any of the Debtor’s Customers,

13   including any businesses or entities that the Debtor may be a co-owner of with any of the Debtor’s

14   Customers.

15   RESPONSE:
16   Cook objects that this request is overly broad because it is not reasonably limited by time or subject
17
     matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good
18
     faith, Cook is treating this request as if it were limited to the time period and the subject matters
19
     relevant to this litigation. Cook also objects that this request seeks documents that Cook produced
20
     to the Trustee and that the Trustee subsequently produced to Defendants. Subject to the foregoing
21
     objections, Cook has already produced all relevant documents within his possession, custody, and
22
     control.
23

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     SKYLER COOK’S RESPONSES TODoc
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 1   18.    All Documents and Communications concerning your decision to enter into any

 2   Partnership Agreements or otherwise solicit or receive money from any of the Debtor’s Customers,

 3   including any Documents to which you referred, upon which you relied, or which you provided in
 4   making such decisions, and any Documents and Communications relating to any investigation or
 5
     due diligence that the Debtor or the Debtor’s Customers performed with respect to any Partnership
 6
     Agreements or any real property to be purchased, improved, developed, or sold therefor prior to
 7
     entering into any Partnership Agreements or otherwise soliciting or receiving any money from any
 8
     of the Debtor’s Customers.
 9
     RESPONSE:
10
     Cook has already produced all relevant documents within his possession, custody, and control
11

12   which the Trustee subsequently produced to Defendants.

13

14   19.    All Documents that the Debtor obtained, generated, or provided relating to any

15   investigation or due diligence that the Debtor or any of the Debtor’s Customers performed with
16   respect to the Debtor or any of the Debtor’s Businesses at any time, whether or not such
17
     investigations relate to any Partnership Agreements, real estate purchased, improved, or sold,
18
     investments or loans, or other transactions involving the Debtor (or any of the Debtor’s
19
     Businesses), and whether such Documents were obtained before or after any such agreements,
20
     property interests, or transactions arose or occurred, and all Communications the Debtor has had
21
     with any other persons or entities in connection with any such investigations or due diligence at
22
     any time.
23

24   RESPONSE:

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     SKYLER COOK’S RESPONSES TODoc
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 1   Cook objects that this request is overly broad because it is not reasonably limited by time or subject

 2   matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good

 3   faith, Cook is treating this request as if it were limited to the time period and the subject matters
 4   relevant to this litigation. Subject to the foregoing objections, Cook has already produced all
 5
     relevant documents within his possession, custody, and control which the Trustee subsequently
 6
     produced to Defendants.
 7

 8
     20.    All Documents and Communications concerning any lawsuits, arbitrations, mediations, or
 9
     claims that may have been filed or asserted against the Debtor or any of the Debtor’s Businesses.
10
     RESPONSE:
11

12   Cook objects that this request is overly broad because it is not reasonably limited by time or subject

13   matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good

14   faith, Cook is treating this request as if it were limited to the time period and the subject matters

15   relevant to this litigation. Cook objects to the extent this request seeks communications protected
16   by the attorney-client privilege or documents containing legal analyses that are protected by the
17
     work-product privilege. Cook further objects to the extent that this request includes claims filed in
18
     the relevant bankruptcy matter, which are public record and available to Defendants. Subject to
19
     the foregoing, please see documents produced herewith as COOK_000001 through
20
     COOK_000137.
21

22
     21.    All Documents and Communications concerning any lawsuits, arbitrations, mediations, or
23

24   claims that may have been filed or asserted by the Debtor or any of the Debtor’s Businesses.

25   RESPONSE:

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 1   Cook objects that this request is overly broad because it is not reasonably limited by time or subject

 2   matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good

 3   faith, Cook is treating this request as if it were limited to the time period and the subject matters
 4   relevant to this litigation. Cook objects to the extent this request seeks communications protected
 5
     by the attorney-client privilege or documents containing legal analyses that are protected by the
 6
     work-product privilege. Subject to the foregoing, none.
 7

 8
     22.    All Communications between the Debtor and any federal, state, or local government
 9
     agencies concerning the Debtor, any of the Debtor’s Businesses, any Partnership Agreements, or
10
     any real property that was purchased, developed, or sold by the Debtor (or any of the Debtor’s
11

12   Businesses) for any of the Debtor’s Customers.

13   RESPONSE:

14   Cook objects that this request is overly broad because it is not reasonably limited by time or subject

15   matter and therefore exceeds scope of Fed. R. Civ. P. 26(b)(1). In an effort to respond in good
16   faith, Cook is treating this request as if it were limited to the time period and the subject matters
17
     relevant to this litigation. Subject to the foregoing, none.
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